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 6
                            IN THE UNITED STATES DISTRICT COURT
 7
 8                                 FOR THE DISTRICT OF ARIZONA

 9
10   GRADY SHAVER, surviving father of Daniel No. CV-17-715-PHX-GMS
     Shaver, Deceased; and NORMA SHAVER,
11   surviving mother of Daniel Shaver

12                        Plaintiffs,                 PLAINTIFFS’ 1ST AMENDED
     v.                                               COMPLAINT
13
     CITY OF MESA, a public entity;
14   PHILIP BRAILSFORD and CORRINE
     BRAILSFORD, husband and wife;                    (Jury Trial Demanded)
15   CHARLES LANGLEY and JANE DOE
     LANGLEY, husband and wife; BRIAN
16   ELMORE and JANE DOE ELMORE,
     husband and wife; CHRISTOPHER DOANE,
17   and JANE DOE DOANE, husband and wife;
     BRYAN COCHRAN and JANE DOE
18   COCHRAN, husband and wife; RICHARD
     GOMEZ and JANE DOE GOMEZ, husband
19   and wife; LA QUINTA HOLDINGS INC.
     d/b/a LA QUINTA INNS & SUITES; JOHN
20   AND JANE DOES I-X; BLACK
     CORPORATIONS I-X; AND WHITE
21   PARTNERSHIPS I-X; UNNAMED PUBLIC
     ENTITIES I-X;
22
                          Defendants.
23
24          Grady Shaver and Norma Shaver, husband and wife, both individually and collectively as

25   the surviving parents of Daniel Shaver, for their Complaint against Defendants, allege as
26
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 1   follows:
 2
                                     JURISDICTION AND VENUE
 3
            1.     Plaintiffs bring this action pursuant to A.R.S. § 12-611, et seq; 28 U.S.C. § 1331
 4
 5   and 1343 for claims arising under 42 U.S.C § 1983, 1985 and 1988; the Fourth, Eighth and
 6   Fourteenth Amendments of the United States Constitution; and pendent state common and
 7
     statutory laws. The Court has supplemental jurisdiction over the Plaintiffs’ state law claims
 8
     pursuant to 28 U.S.C. § 1367.
 9
10          2.     Jurisdiction and venue are proper under 28 U.S.C. § 1391(b)(2) because the City
11   of Mesa is located within this District, the individual Defendants, on information and belief, all
12
     reside within this District, Defendant La Quinta Inns & Suites is licensed to do business in this
13
     District and operates numerous hotels here, and because the events underlying these causes of
14
15   action occurred in the District of Arizona.

16                COMPLIANCE WITH NOTICE OF CLAIM REQUIREMENTS
17
            3.     A timely and detailed Notice of Claim including an amount for which Plaintiffs
18
     would settle was served and filed with the City Clerk for the City of Mesa pursuant to A.R.S. §
19
20   12-821.01. More than 60 days have passed since the filing of the Notice of Claim and

21   Defendants have not responded to said claim.
22
                                                THE PARTIES
23
            4.     Plaintiffs Grady Shaver and Norma Shaver (“Parents’) are adult individuals, are
24
25   residents of Tennessee, and are the parents of Daniel Shaver.

26



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 1          5.     Defendant City of Mesa (the “City”) is an Arizona governmental entity, organized
 2
     according to and operating under to the laws of the State of Arizona.
 3
            6.     Defendant Philip Brailsford (“Brailsford”) is a former police officer with the City
 4
 5   of Mesa, Badge Number #19861, and is a resident of the State of Arizona. Brailsford killed
 6   Daniel Shaver and is responsible for acts and omissions giving rise to this action. Corrine
 7
     Brailsford is the spouse of Philip Brailsford. Philip Brailsford was acting for and on behalf of
 8
     his marital community at all times relevant to the claims herein and in taking the actions that
 9
10   resulted in the killing of Daniel Shaver.
11          7.     Defendant Charles J. Langley (“Langley”) is a former police officer with the City
12
     of Mesa, Badge Number #10509, and is a resident of the State of Arizona. Langley was present
13
     and participated in the events leading to the killing of Daniel Shaver and is responsible for acts
14
15   and omissions giving rise to this action. On information and belief, Jane Doe Langley is the

16   spouse of Charles J. Langley. Charles J. Langley was acting for and on behalf of his marital
17
     community at all times relevant to the claims herein and in taking actions that resulted in the
18
     killing of Daniel Shaver.
19
20          8.     Defendant Brian Elmore (“Elmore”) is a police officer with the City of Mesa,

21   Badge Number #19456, and is a resident of the State of Arizona. Elmore was present and
22
     participated with a contingent of officers in the events leading to the killing of Daniel Shaver
23
     and is responsible for acts and omissions giving rise to this action. On information and belief,
24
25   Jane Doe Elmore is the spouse of Brian Elmore. Brian Elmore was acting for and on behalf of

26



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 1   his marital community at all times relevant to the claims herein, and in taking actions that
 2
     resulted in the killing of Daniel Shaver.
 3
            9.     Defendant Christopher Doane (“Doane”) is a police officer with the City of Mesa,
 4
 5   Badge Number #20111, and is a resident of the State of Arizona. Doane was present and
 6   participated with a contingent of officers in the events leading to the killing of Daniel Shaver
 7
     and is responsible for acts and omissions giving rise to this action. On information and belief,
 8
     Jane Doe Doane is the spouse of Christopher Doane. Christopher Doane was acting for and on
 9
10   behalf of his marital community at all times relevant to the claims herein, and in taking actions
11   that resulted in the killing of Daniel Shaver.
12
            10.    Defendant Bryan Cochran (“Cochran”) is a police officer with the City of Mesa,
13
     Badge Number #12353, and is a resident of the State of Arizona. Cochran was present and
14
15   participated with a contingent of officers in the events leading to the killing of Daniel Shaver

16   and is responsible for acts and omissions giving rise to this action. On information and belief,
17
     Jane Doe Cochran is the spouse of Bryan Cochran. Bryan Cochran was acting for and on behalf
18
     of his marital community at all times relevant to the claims herein, and in taking actions that
19
20   resulted in the killing of Daniel Shaver.

21          11.    Defendant Richard Gomez (“Gomez”) is a police officer with the City of Mesa,
22
     Badge Number #15089, and is a resident of the State of Arizona. Gomez was present and
23
     participated with a contingent of officers in the events leading to the killing of Daniel Shaver
24
25   and is responsible for acts and omissions giving rise to this action. On information and belief,

26   Jane Doe Gomez is the spouse of Richard Gomez. Richard Gomez was acting for and on behalf


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 1   of his marital community at all times relevant to the claims herein, and in taking actions that
 2
     resulted in the killing of Daniel Shaver.
 3
            12.    Defendant La Quinta Holdings Inc. (“La Quinta”) is a holding company and, on
 4
 5   information and belief, the parent or owner of a La Quinta Inn & Suites hotel at 6530 E.
 6   Superstition Springs Boulevard in Mesa, Arizona which was the site of the killing of Daniel
 7
     Shaver on January 18, 2016. La Quinta is and was doing business in Arizona at all times
 8
     relevant to the claims alleged herein. On information and belief, La Quinta, including through
 9
10   the actions and omissions of its agents, is responsible for actions or omissions that lead to the
11   damages claimed by the Plaintiffs in this action against La Quinta.
12
            13.    The Plaintiffs do not yet know the names of any other Defendants, but Plaintiffs
13
     hereby reserve the right to substitute the true names of such defendants as they are identified and
14
15   to amend or supplement the allegations herein in connection with any claims Plaintiffs may have

16   against such defendants.
17
                                         GENERAL ALLEGATIONS
18
            14.    Plaintiffs re-allege and incorporate, by this reference, their claims, facts, and
19
20   allegations in the paragraphs above, as if set forth fully herein.

21          15.    Parents survive, and are statutory beneficiaries of, their son Daniel Shaver
22
     (“Daniel”) who was an individual residing in Hood County, Texas, at all times relevant to this
23
     Complaint.
24
25          16.    Defendant City of Mesa, including all of its departments, subdivisions, agents, and

26   employees (collectively referenced hereafter as “the City”) is a public municipal corporation


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 1   formed and designated as such pursuant to Title 9 of the Arizona Revised Statutes. As such, the
 2
     City is subject to civil suit and may be held liable both independently and vicariously, as
 3
     permitted by federal and state law, for the wrongful conduct of its officers, employees, agents,
 4
 5   districts, and divisions/sub-divisions, including (without limitation) the City of Mesa Police
 6   Department (“Police”) and the officers and employees of their divisions.
 7
            17.    At all times material to this Complaint, Defendant, former Officer Philip
 8
     Brailsford (“Brailsford”) and Defendant, former Officer Charles Langley (“Langley”), and
 9
10   Defendants Elmore, Doane, Cochran, and Gomez were agents and employees of the City who, at
11   the time of the events complained herein, were acting within the course and scope of their
12
     employment and under color of law. Their actions constitute actions of the City. The City is
13
     vicariously and directly liable, as permitted by state and federal law, for any of their wrongful
14
15   conduct. Brailsford, Langley, Elmore, Doane, Cochran, and Gomez are sued both in their

16   official capacity for purposes of Plaintiffs’ state law claims and in their individual capacities for
17
     purposes of Plaintiffs’ federal claims including 42 U.S.C. § 1983, 1985 and 1988; and the
18
     Fourth, Eighth and Fourteenth Amendments of the United States Constitution. Jane Does
19
20   Langley, Elmore, Doane, Cochran, and Gomez are fictitious names of these Defendant’s

21   spouses, if any, who will be substituted upon the discovery of their names and if appropriate.
22
            18.    The true name, capacities, and relationships, whether individual, corporate,
23
     partnership, or otherwise of all John and Jane Doe Defendants, Black Corporations, and White
24
25   Partnerships, are unknown at the time of the filing of this complaint and Plaintiffs will amend

26   the complaint to name any unidentified individuals once they have learned, through discovery,


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 1   the identities and acts, omissions, roles, and/or responsibilities of such Defendants sufficient for
 2
     Plaintiffs to discover the claims against them.
 3
            19.    All spouses of the respective Defendants are so designated because Defendants
 4
 5   were engaged in the wrongful conduct for the benefit of the marital communities, thereby
 6   rendering the spouses and marital communities of Defendants liable for such conduct.
 7
                            FACTUAL BASIS FOR CLAIMS FOR RELIEF
 8
                                             Summary of Facts
 9
10          20.    Plaintiffs re-allege and incorporate, by this reference, their claims, facts, and
11   allegations in the paragraph above, as if set forth fully herein.
12
            21.    On the evening of January 18, 2016 at approximately 9:14 p.m., Daniel Leetin
13
     Shaver was shot to death in his hotel by Brailsford.
14
15          22.    Daniel was a twenty six (26) year old young man from Granbury, TX and was

16   traveling for work to Mesa, AZ to perform pest control for local businesses. Daniel worked for
17
     Animal Relocators of Texas.
18
            23.    Daniel was a devoted and loving son to his Parents who depended on him a great
19
20   deal for love, affection, care, attention and moral/emotional support and all of the other

21   intangible benefits a loving son could offer or would offer in the future including care and
22
     support. Daniel had a close relationship with his Parents and spoke with them regularly and
23
     often. Daniel was also a loving father to his children who depended on him for support.
24
25          24.    Daniel checked into a hotel room on January 17, 2016 as a guest at the La Quinta

26   Inn & Suites located at 6530 E. Superstition Springs Blvd. in Mesa.


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 1          25.    As part of his job Daniel was required to carry pellet rifles owned by his employer
 2
     to provide pest control. Due to their expense he would regularly keep the pellet rifles in his
 3
     hotel room to prevent them from possibly being stolen from his vehicle.
 4
 5          26.    Daniel had stayed at this particular hotel on other occasions and was known by
 6   hotel staff as a friendly and outgoing individual and he would strive to form positive
 7
     relationships with everyone he came in contact with.
 8
            27.    While there Daniel met two acquaintances, Monique Portillo and Luis Nunez, who
 9
10   he invited up to his room to socialize and have a conversation with.
11          28.    Sometime after Ms. Portillo and Mr. Nunez entered Daniel’s room at the La
12
     Quinta hotel, a member of the La Quinta hotel staff received a report of someone seeing an
13
     individual holding a gun within their hotel room. La Quinta staff placed a call to the local 911
14
15   emergency system but the caller or the reporting party could not identify where the gun was

16   being pointed, did not report that the gun had been pointed at a person, or any particular target,
17
     and did not specify if the hotel staff had received a report of a gun protruding out of a window or
18
     just someone inside holding a gun that was pointed in the direction of the window.
19
20          29.    The hotel staff did not treat the report they received as an active shooter situation.

21   Instead, Ms. Leticia Jimenez, one of the hotel front desk employees, headed outside to confirm
22
     what room was involved.
23
            30.    Recognizing the room involved in the report as Mr. Shaver’s room, and having
24
25   seen him earlier that evening ordering food, and having seen the Venezia’s delivery person

26



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 1   heading upstairs, Ms. Jimenez, apparently with hotel management’s approval, went up to
 2
     Daniel’s room.
 3
            31.    Ms. Jimenez could see the people inside Daniel’s room through the open door and
 4
 5   saw a large Hispanic male with black hair, facial hair, and a black jacket with what appeared to
 6   be a rifle in his hands. That description could not possibly have been confused with Daniel who
 7
     was a white male and was wearing just basketball shorts over underwear and a t-shirt when he
 8
     appeared just a short time later in the hotel hallway at the officers’ request. Ms. Jimenez
 9
10   recognized it was someone other than Daniel who was holding the object she identified as a rifle
11   and Ms. Jimenez actually spoke to Daniel at his room. Mr. Nunez subsequently left the room
12
     prior to the officers responding.
13
            32.    On information and belief, Ms. Jimenez was unarmed and unafraid that Daniel
14
15   posed any serious threat to her or others. Her statement to the police after Daniel was shot and

16   killed indicated what she observed when she reached Daniel’s room, the door was open, not
17
     closed. The Mesa Police Department officers who responded to the 911 call and went to
18
     Daniel’s room, including Defendants Brailsford, Langley, Doane, Elmore, Cochran and Gomez
19
20   could have and should have obtained that same information from Ms. Jimenez before they

21   proceeded to Daniel Shaver’s room.
22
            33.    At around 9:15 p.m. the Mesa Police Department responded to the call and at least
23
     six police officers arrived at the La Quinta, including Langley, Brailsford, Elmore, Doane,
24
25   Cochran, and Gomez.

26



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 1           34.   These six officers mobilized in the hotel lobby and formulated a plan to approach
 2
     room #502 on the fifth floor.
 3
             35.   Sergeant Langley, who was leading this team as the senior officer, assembled an
 4
 5   immediate action team with these officers and designated two officers as lethal force including
 6   Brailsford, and ensured that they were armed with AR-15 assault rifles as well as himself.
 7
             36.   None of the other officers were designated as less than lethal force and none of the
 8
     officers elected to proceed with non-lethal weapons at this point despite several less than lethal
 9
10   options being available. These officers made their way up the elevator and down the hall
11   towards Daniel’s room.
12
             37.   At the time he arrived at the La Quinta hotel, Defendant Brailsford was a lightly
13
     experienced officer whose prior conduct and actions indicated a dangerous immaturity, an
14
15   unwillingness or inability to exercise personal restraint, and a willingness to employ

16   inappropriate, unwarranted and excessive levels of force and violence in his activities while on
17
     duty.
18
             38.   On information and belief, Defendant Brailsford had been involved in an
19
20   excessive use of force investigation in connection with an incident at a convenience store on or

21   about September 27, 2015 where a citizen was subject to excessive force by Brailsford. This
22
     incident was captured on video and resulted in a citizen complaint and an internal investigation
23
     under IA No. 2015-238 and was reported on the local news.
24
25           39.   This incident was well known to Mesa Police Department officials and gave them

26   reason to question Brailsford’s fitness for duty, to know of his disposition to use excessive force


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 1   and violence while on duty, thus placing the City of Mesa on notice of the danger Brailsford
 2
     posed to the public and wrongfully placing Daniel in an unreasonable risk of danger by allowing
 3
     Brailsford to continue without termination, restraint or proper supervision.
 4
 5           40.   On the evening of January 18, 2016, while the officers were in the hallway and
 6   had mobilized just outside of Daniel’s room Sergeant Langley sent one officer down to the front
 7
     desk to ask hotel staff to call Daniel’s room and another officer down to obtain a key to room
 8
     #502 leaving only himself and three officers outside of Daniel’s room. Langley and the other
 9
10   officers did not wait for additional officers to arrive nor did they elect to clear the rooms nearby
11   in the hotel despite knowing that the weapons the officers were holding and ready to use could
12
     easily penetrate the walls of the hotel hallway. Instead they elected to force the situation and
13
     Daniel received a phone call stating that the Police were there and they wanted them to exit the
14
15   room.

16           41.   Daniel and Monique then exited the room where they were shocked to see a group
17
     of five to six police officers pointing their weapons at them, including Brailsford who was
18
     utilizing his AR-15 rifle.
19
20           42.   Stunned and completely surprised, they stopped as Langley began screaming a

21   series of confusing commands at them. These actions by the officers and Langley in particular
22
     immediately and unnecessarily escalated the situation and heightened the agitation and stress felt
23
     by Daniel and Monique. These Defendants did not use any de-escalation techniques and in fact
24
25   did the opposite of what police policy requires in situations such as these.

26



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 1          43.    This entire incident was captured on the video cameras worn by two of the officers
 2
     including Brailsford.
 3
            44.    Daniel was dressed in just underwear, loose athletic shorts and a t-shirt. He was
 4
 5   not wearing anything that could conceal a rifle and none of the officers saw anything that
 6   suggested that either of them had any weapons of any kind.
 7
            45.    As Daniel and Monique exited the hotel room defendant Langley immediately
 8
     shouted for them to stop and kneel on the ground. Langley then stated, “Alright, if you make a
 9
10   mistake another mistake, there’s a very severe possibility you’re both going to get shot.” At this
11   point both of them had been compliant with commands given, and yet Langley still made threats
12
     against Daniel’s life if he simply made a mistake.
13
            46.    Monique was the first to be taken into custody after she was ordered to crawl
14
15   forward, this occurred approximately six feet in front of the officers and Monique had left her

16   purse on the floor of the hallway in the same location where she was handcuffed.
17
            47.    Daniel did his best to follow the commands he was given despite the commands
18
     being confusing, difficult to follow and Daniel being told to “shut up” whenever he tried to
19
20   speak or clarify the commands given by Langley.

21          48.    After minutes of laying face down on the ground Daniel was finally ordered to
22
     crawl towards the officers with his legs crossed and his hands in the air, all while being told that
23
     if he lowered his hands or uncrossed his legs or made a mistake, he would be shot. This method
24
25   and procedure of taking an individual into custody does not follow any police policy and does

26   not authorize police officers to fatally shoot an individual if they simply make a mistake.


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 1          49.    The commands given by Langley were not only confusing but rather impossible to
 2
     follow because of the conflicting instructions given to Daniel. The method used by the
 3
     defendant officers in this situation was against the Mesa Police Department policy and
 4
 5   procedures and was done in such a way that caused confusion, aggravation, stress and
 6   heightened an already tense situation.
 7
            50.    Daniel was ordered to crawl and also keep his hands in the air. The order to crawl
 8
     necessitated that Daniel place his hands on the ground and as he was crawling he can be heard
 9
10   on the video audibly crying and begging the officers “please, don’t shoot me.”
11          51.    As Daniel was crawling on his hands and knees per the officer’s orders, he was
12
     required to crawl around the purse that Monique had left on the floor and at the same time his
13
     loose fitting basketball shorts fell down to his knees and he instinctively reached to catch them
14
15   and pull them up.

16          52.    At that instant officer Brailsford opened fire and shot Daniel five times in the
17
     back, neck, chest, face, and right leg with his own personal AR-15 assault rifle. Daniel was
18
     unarmed and died at the scene.
19
20          53.    There was nothing that prevented the officers from moving forward and taking

21   Daniel into custody where he was laying on the floor but instead they put him through a series
22
     of unnecessary maneuvers that required him to crawl on the floor and maneuver around the
23
     purse left by Monique, all while not being allowed to speak and being yelled at and threatened
24
25   with death.

26



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 1          54.    The Mesa Police Department (specifically Brailsford) unjustifiably shot and killed
 2
     Daniel without any threat existing. There was absolutely no reason to kill this unarmed,
 3
     vulnerable young man.
 4
 5          55.    In fact, had anyone from Mesa Police Department bothered to inquire on the
 6   evening of January 18th of anyone affiliated with La Quinta who had interacted with Daniel
 7
     about his character or personality, they would have heard very positive things about how
 8
     friendly and open he was to staff and how they liked and felt comfortable around him. They
 9
10   would have also learned that Daniel had only moments earlier had interactions with hotel staff
11   while ordering food to have delivered to his room and did not pose a threat to anyone.
12
            56.    On information and belief, none of the Mesa Police Department officials who
13
     visited the La Quinta hotel immediately before Daniel’s killing by Defendant Brailsford made
14
15   any such inquiry of hotel staff. Failure to make such an inquiry violated the applicable standard

16   of care for a police response, was negligent, and contributed to the unlawful killing of Daniel.
17
            57.    Daniel was not committing any crime, he had not hurt or injured anyone, he had
18
     made no threats to the officers or anyone else, he did not argue with the officers, he was not
19
20   belligerent or defiant and he had no weapons. Also, there were no reports of any threats, any

21   shots being fired or any circumstances that would warrant the type of response utilized by the
22
     defendant officers and the officers did nothing to investigate the situation or find out any
23
     information which was readily available and would have prevented this heightened situation
24
25   altogether.

26



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 1          58.    Defendant Langley and the other defendant officers under his command were
 2
     responsible through their actions and failures to act, including those listed above, for decisions
 3
     and actions that resulted in Langley and his team members making false and dangerous
 4
 5   assumptions, employing inappropriate and excessively aggressive and violent tactics, and
 6   inappropriately escalating the situation outside Daniel Shaver’s room.
 7
            59.    It was later discovered that officer Brailsford’s personal AR-15 rifle used in this
 8
     shooting and authorized for use by the Mesa Police Department had the words “You’re Fucked”
 9
10   inscribed on the inside of the dust cover which would have been exposed after the first shot was
11   fired. His rifle also had the inscription of a Spartan helmet and the phrase “molon labe” which
12
     is a classical Greek term translating as “come and take them”.
13
            60.    These inscriptions show that officer Brailsford had a callous disregard for the
14
15   sanctity of life, a disregard for authority and a high level of personal immaturity. He also had

16   disrespect for the rights of citizens of whom he had a duty to serve and protect, all of which the
17
     Mesa Police Department failed to identify or address. Additionally, these inscriptions were
18
     against Mesa Police Department policy and yet they were not addressed or corrected by any
19
20   Defendants.

21          61.    These facts indicate that Mesa Police Department and the City of Mesa failed it’s
22
     duty to Daniel Shaver and the Plaintiffs to protect them from Brailsford or to adequately train
23
     and supervise Brailsford to apply self restraint, de-escalation techniques, and respect for the
24
25   rights of the public and the policies of the Mesa Police Department.

26



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 1          62.    The La Quinta employees who decided to call 911 or directed the call to 911 had
 2
     access to greater information than they relayed to the 911 operator about the circumstances
 3
     occurring in Daniel’s hotel room get failed to inform the officers of the true circumstances.
 4
 5   Also, had those employees provided to either the 911 operator or the officers responding to the
 6   911 call the additional information they knew about Daniel, they would have provided material
 7
     information that would have materially reduced the responding police officers’ alleged
 8
     perception of what risks of harm existed at the hotel that night.
 9
10          63.    It was negligent and reckless for the La Quinta hotel staff to advise the 911
11   operator and the responding officers in the way they did, omitting material information the La
12
     Quinta staff knew about the occupants and the room where a rifle was supposedly spotted.
13
            64.    Additionally, the window screen on Daniel’s hotel room at the La Quinta hotel on
14
15   January 18, 2016, was secured and could not easily be removed or moved by a hotel guest.

16   Therefore, there is no possibility that anyone had actually extended a rifle outside the window of
17
     Daniel’s room and the La Quinta hotel staff on duty knew of the fixed condition of the window
18
     screen and failed to inform the Mesa Police Department officers of this vital information and the
19
20   officers failed to investigate thus constituting reckless and negligent actions of the La Quinta

21   staff and the officers which contributed to the false assumptions of the officers that Daniel
22
     Shaver presented a threat worthy of deadly force or even that the original reports presented to
23
     the La Quinta employees were accurate or credible.
24
25          65.    The officers who went to Daniel’s room failed to conduct an adequate and

26   appropriate inquiry into the facts confronting them and did not even speak to the persons who


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 1   supposedly saw a rifle through a hotel window or of speaking to hotel staff members like Ms.
 2
     Jimenez to learn the critical information known to them about Daniel and the situation in
 3
     Daniel’s room that would have confirmed that Daniel posed no threat to anyone, including the
 4
 5   Mesa Police Department officers or that this was any sort of “active shooter” situation.
 6          66.      All things considered, the Mesa police officers failed to follow proper procedure
 7
     and training, failed to gather the necessary information, aggravated and unnecessarily escalated
 8
     the situation and ultimately killed Daniel in an unprovoked, unwarranted, unjustified, callous,
 9
10   depraved, and viciously evil act.
11          67.      The La Quinta defendant did not follow proper procedure or policy, interacted
12
     with Daniel both before and after the 911 call and knew great deal of additional information
13
     which they failed to provide to the officers responding which would have otherwise saved
14
15   Daniels life.

16          68.      Subsequent to this incident the Maricopa County Attorney’s Office investigated
17
     the events surrounding Daniel’s killing and filed a direct complaint against officer Philip
18
     Brailsford for second-degree murder in the killing of Daniel Shaver. Officer Brailsford was then
19
20   fired from the Mesa Police Department.

21          69.      Additionally, the City of Mesa had served Defendant Langley with a notice of an
22
     internal investigation regarding his official conduct as a Mesa Police Department officer, and
23
     Defendant Langley elected to retire rather than face possible discipline and loss of retirement
24
25   benefits.

26                                       FIRST CLAIM FOR RELIEF


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 1         (Assault and Battery – Against City of Mesa, Brailsford, Langley, Doane, Elmore,
 2
                                            Cochran and Gomez)
 3
            70.    Plaintiffs re-allege and incorporate, by this reference, their claims, facts, and
 4
 5   allegations in the paragraphs above, as if set forth fully herein.
 6          71.    Defendants City of Mesa, Brailsford, Langley, Doane, Elmore, Cochran and
 7
     Gomez assaulted and battered Daniel.
 8
            72.    Defendants City of Mesa, Brailsford, Langley, Doane, Elmore, Cochran and
 9
10   Gomez intended to cause harm or offensive contact with Daniel, place him in imminent fear of
11   that contact and did cause harm or offensive contact with Daniel by shooting and killing him.
12
            73.    The assault and battery was not justified.
13
            74.    The harmful conduct and contact led to Daniel’s death and Plaintiffs are entitled to
14
15   damages.

16          75.    The conduct that the City of Mesa, Brailsford, Langley, Doane, Elmore, Cochran
17
     and Gomez were engaged in with intent to cause fear and injury, was wrongful conduct
18
     motivated by spite or ill will or the officers acted to serve their own interests, having reason to
19
20   know and consciously disregarding a substantial risk that their conduct might significantly

21   injure the rights of or cause the death of Daniel. The officers consciously pursued a course of
22
     conduct knowing that it created a substantial risk of significant harm to Daniel.
23
            76.    Plaintiffs are therefore entitled to damages in an amount to be determined at trial.
24
25          77.    The Plaintiffs are entitled to recovery of taxable costs, including per the terms of

26   A.R.S. § 12-341.


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 1                                    SECOND CLAIM FOR RELIEF
 2
                                         (Negligence – All Defendants)
 3
            78.    Plaintiffs re-allege and incorporate, by this reference, their claims, facts, and
 4
 5   allegations in the paragraphs above, as if set forth fully herein.
 6          79.    Defendants City of Mesa, Brailsford, Langley, Doane, Elmore, Cochran and
 7
     Gomez have a statutory and common law duty to assure the safety and well-being of persons in
 8
     their care and custody – a duty that includes (without limitation) using only necessary and
 9
10   reasonable force. Defendants also have a duty to provide proper care to the citizens under their
11   care, custody, and control while in the conduct of their official activities.
12
            80.    City of Mesa, Brailsford, Langley, Doane, Elmore, Cochran and Gomez breached
13
     their duties, as identified by the allegations set forth in the paragraphs above by (among others
14
15   and without limitation): subjecting Daniel to excessive force; fatally shooting Daniel; and

16   failing to protect him or properly follow the applicable protocols, practices, policies, training,
17
     and standards of law enforcement.
18
            81.    The City of Mesa is legally responsible for the screening, hiring, training,
19
20   retaining, and supervision of all employees and agents who have responsibility for the

21   processing, handling, and management of those in the care, custody, and control of the Police.
22
     This responsibility includes (among other things and without limitation) making certain that
23
     such employees and agents satisfy all federal, state, and applicable standards. It also includes
24
25   (among others and without limitation) making certain that Police policies, procedures, practices,

26   protocols, customs, and training satisfy all federal, state, and applicable standards. And, it also


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 1   includes (among others and without limitation) reasonably responding to known problems
 2
     and/or improper customs, policies, practices, procedures, training, and/or conditions. The City
 3
     was negligent in the performance of those duties and responsibilities.
 4
 5          82.    The City of Mesa breached its duties, as identified by the allegations set forth in
 6   the paragraphs above, by (among others and without limitation): failing to properly screen, hire,
 7
     retain and supervise its employees; ratifying improper conditions, customs, policies, procedures,
 8
     and/or practices by inaction; implementing, utilizing, and/or permitting to exist unreasonable
 9
10   dangerous policies, practices, protocols, customs, and training (or lack thereof) with respect to
11   (among others and without limitation) the use of force; approaching, arresting, and/or
12
     responding to citizens; failing to appropriately hire, retain and supervise its employees.
13
            83.    La Quinta owed duties of due care to Daniel Shaver and to the Plaintiffs arising
14
15   out of Daniel’s status as a paying guest of the La Quinta hotel. Among those duties were

16   obligations to ensure that Daniel Shaver was protected from assault, battery or physical injury
17
     while on the La Quinta premises and to take all steps necessary to ensure that any City of Mesa
18
     police officers or officials responding to the 911 call on January 18, 2016 were fully informed as
19
20   the applicable circumstances and did not unnecessarily or unreasonably expose Daniel Shaver to

21   risks of harm or death.
22
            84.    La Quinta, along with the other Defendants breached their duty of care to Daniel
23
     through their actions and failure to act as alleged above in facilitating, encouraging, and failing
24
25   to prevent the use of excessive, unreasonable, and illegal force which resulted in Defendant

26   Brailsford shooting and killing Daniel Shaver.


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 1          85.    Specifically, the acts and omissions include: inaccurate and incomplete reporting
 2
     to the 911 operator and the officers by La Quinta employees concerning the circumstances
 3
     including but not limited to: a weapon seen by La Quinta staff in the room, knowledge regarding
 4
 5   the window and window screen, their knowledge about Daniel Shaver and whether they felt he
 6   posed a threat, the circumstances surrounding Ms. Jimenez and her visit to Daniels room and
 7
     observations which occurred both before and after the 911 call and failure to relay correct and
 8
     credible information to the City of Mesa officers.
 9
10          86.    Additionally, La Quinta failed to adequately train and supervise its employees
11   regarding how to respond to situations like these and interact with police to ensure that full and
12
     accurate information is provided.
13
            87.    The City of Mesa and their police supervisors have individual, supervisory
14
15   responsibility for overseeing the operations of the City of Mesa Police Department and the

16   actions of the officers underneath them, as well as ensuring that the Police are provided with the
17
     proper training, education, resources, and knowledge necessary to comply with applicable
18
     federal and state law and standards. They are also responsible for ensuring that every police
19
20   officer is properly qualified to perform the duties of the job, and that the policies, procedures,

21   customs, practices, and/or protocols of the Police are proper, legal, and complied with. They are
22
     also responsible for taking appropriate measures to correct any problems that they are aware of
23
     or put on notice of with respect to the Police. All Defendants were negligent in the performance
24
25   of such duties, as alleged herein this Complaint.

26



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 1          88.    Defendant Brailsford had a character, demeanor, psychological makeup,
 2
     behavioral issues, predispositions, and a history of aggressive, abusive or inappropriate physical
 3
     conduct prior to January 18, 2016 that made him unfit for service as a police officer and a
 4
 5   danger to members of the public with whom he could come in contact in the course of his police
 6   duties. More specifically, Defendant Brailsford presented an unreasonable danger and risk of
 7
     harm to Daniel Shaver and the Plaintiffs on January 18, 2016.
 8
            89.    Defendant City of Mesa had knowledge of the dangers posed by Defendant
 9
10   Brailsford and of his unfitness for duty on January 18, 2016, and had a duty to act to protect
11   Daniel Shaver and Plaintiffs from that danger. Yet, the City of Mesa took no appropriate
12
     actions to prevent that from happening.
13
            90.    Defendant City of Mesa therefore breached its duties to Daniel Shaver and
14
15   Plaintiffs by continuing to employ Defendant Brailsford and allow him to operate as an a Mesa

16   Police Department officer capable of using lethal force in the course of his official duties on
17
     January 18, 2016.
18
            91.    All Defendants were, at all times material hereto, acting within the course and
19
20   scope of their employment.

21          92.    All Defendants breached their duties owed to Daniel, as identified by the claims,
22
     facts, and allegations set forth in the paragraphs above.
23
            93.    Defendants’ breaches of duty caused or contributed to the cause of Daniel’s death.
24
25          94.    As the result of Defendants’ negligence, his Parents, as Daniel’s survivors, have

26   suffered damages and been deprived of the continued companionship and society of their son


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 1   and have suffered and will continue to suffer in the future a loss of consortium, love, affection,
 2
     companionship, care, protection, guidance, support, as well as pain, grief, sorrow, anguish,
 3
     stress, shock, and mental suffering; and economic and non-economic damages in an amount to
 4
 5   be proven at trial.
 6          95.    The actions and failures to act of the Defendants City of Mesa, Brailsford,
 7
     Langley, Doane, Elmore, Cochran and Gomez alleged herein were evil, malicious and
 8
     undertaken with the intent to harm Daniel Shaver and his family or with reckless disregard of
 9
10   the substantial risk of harm to Daniel Shaver and his family. Plaintiffs are therefore entitled to
11   damages in an amount to be determined at trial.
12
            96.    The actions and failures to act of the Defendant La Quinta alleged herein were
13
     evil, malicious and undertaken with the intent to harm Daniel Shaver and his family or with
14
15   reckless disregard of the substantial risk of harm to Daniel Shaver and his family. The Plaintiffs’

16   claims qualify, therefore, for the imposition of punitive or exemplary damages in an amount
17
     sufficient to punish La Quinta and to deter other similarly situated persons from like conduct.
18
            97.    The Plaintiffs are entitled to recovery of taxable costs, including per the terms of
19
20   A.R.S. § 12-341.

21                                    THIRD CLAIM FOR RELIEF
22
                                   (Gross Negligence – All Defendants)
23
            98.    Plaintiffs re-allege and incorporate, by this reference, their claims, facts, and
24
25   allegations in the paragraphs above, as if set forth fully herein.

26



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 1          99.    Defendants acted and/or failed to act, despite knowing or having reason to know
 2
     that Daniel was or would be inappropriately subjected to an unreasonable risk of serious harm
 3
     and injury as a result of their actions and/or inactions.
 4
 5          100.   Defendants acted jointly and under color of state law to deprive Daniel Shaver and
 6   the Plaintiffs of their clearly established constitutional rights under the Fourth, Eighth, and
 7
     Fourteenth Amendments to the United States Constitution and engaged in extreme and excessive
 8
     cruelty to Daniel Shaver and the Plaintiffs, which constitutes reckless indifference to the rights
 9
10   and safety of Daniel Shaver and the Plaintiffs that Defendants knew or ought to have known.
11          101.   Defendants subjected Daniel to reckless and excessive force, and/or failed to
12
     intervene to prevent use of such force, as alleged above.
13
            102.   A reasonable person under the same circumstance would have known that Daniel
14
15   was inappropriately subject to the use of unreasonable and unjustified force and cruel and

16   unusual punishment.
17
            103.   At all times material hereto, Defendants were acting within the course and scope
18
     of their employment.
19
20          104.   Defendants were reckless and/or grossly negligent in the handling, treatment, and

21   care of Daniel.
22
            105.   Defendants, directly or through their employees and agents, were reckless and/or
23
     grossly negligent in the screening, hiring, retention, training and supervision of their employees
24
25   and potentially others, as identified by the claims, facts, and allegations set forth in the

26   paragraphs above.


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 1          106.   Defendants’ breaches of their duties, as outlined above, constitute gross
 2
     negligence, which was the proximate cause of Daniel’s death.
 3
            107.   As the result of Defendant’s gross negligence, his Parents, as Daniel’s survivors,
 4
 5   have been deprived of the continued companionship and society of their son and have suffered
 6   and will continue to suffer in the future a loss of love, affection, companionship, care,
 7
     protection, guidance, as well as pain, grief, sorrow, anguish, stress, shock, and mental suffering,
 8
     and have suffered both economic and non-economic damages in an amount to be proven at trial.
 9
10          108.   The actions and failures to act of the Defendants City of Mesa, Brailsford,
11   Langley, Doane, Elmore, Cochran and Gomez alleged herein were evil, malicious and
12
     undertaken with the intent to harm Daniel Shaver and his family or with reckless disregard of
13
     the substantial risk of harm to Daniel Shaver and his family. Plaintiffs are therefore entitled to
14
15   damages in an amount to be determined at trial.

16          109.   The actions and failures to act of the Defendant La Quinta alleged herein were
17
     evil, malicious and undertaken with the intent to harm Daniel Shaver and his family or with
18
     reckless disregard of the substantial risk of harm to Daniel Shaver and his family. The Plaintiffs’
19
20   claims qualify, therefore, for the imposition of punitive or exemplary damages in an amount

21   sufficient to punish La Quinta and to deter other similarly situated persons from like conduct.
22
            110.   The Plaintiffs are entitled to recovery of taxable costs, including per the terms of
23
     A.R.S. § 12-341.
24
25                                  FOURTH CLAIM FOR RELIEF

26        (Wrongful Death – Against the City of Mesa, Brailsford, Langley, Doane, Elmore,


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 1                                         Cochran and Gomez)
 2
            111.   Plaintiffs re-allege and incorporate by reference their claims, facts, and allegations
 3
     contained in the paragraphs above, as if set forth fully herein.
 4
 5          112.   Through the actions and failures to act alleged above, Defendants City of Mesa,
 6   Brailsford, Langley, Doane, Elmore, Cochran and Gomez and other unidentified agents or
 7
     servants of the City of Mesa engaging in the actions or failures to act from which the causes of
 8
     actions alleged herein arise facilitated, encouraged, used, and failed to prevent the use of
 9
10   excessive, unreasonable, and illegal force, resulting in Defendant Brailsford shooting and killing
11   Daniel Shaver on January 18, 2016.
12
            113.   The shooting of Daniel by Mesa Police Officer Philip Brailsford was without
13
     justification and amounts to death caused by intentional conduct, negligence, gross negligence,
14
15   reckless disregard and/or murder as set forth above and violates the duties of care required by

16   these Defendants including, without limitation their duties to create and enforce policy or hire,
17
     terminate or train officers in implementing policies concerning appropriate tactics, techniques
18
     and use of force. Additionally these officers had a duty to not use more force than necessary
19
20   when dealing with citizens of the public or in effecting an arrest of an individual.

21          114.   The City of Mesa and Defendant officers breached this duty when they subjected
22
     Daniel to more force than necessary causing his death.
23
            115.   If Daniel’s death had not ensued, He would have been entitled to maintain an
24
25   action to recover damages for Defendants’ conduct.

26



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 1          116.   Pursuant to A.R.S. § 12-611, Defendants are liable to Plaintiffs for Defendants’
 2
     conduct, Daniel’s and his Parents’ claims, his death and his and their damages.
 3
            117.   Pursuant to A.R.S. § 12-612(a), Daniels surviving Parents are entitled to bring this
 4
 5   action for damages on behalf of the surviving statutory beneficiaries.
 6          118.   Plaintiffs are entitled to recover for their damages which are, at a minimum,
 7
     compensation for the loss of consortium, love, affection, companionship, care, protection and
 8
     guidance since the death and in the future; for the pain, grief, sorrow, anguish, stress, shock, and
 9
10   mental suffering already experienced, and reasonably probable to be experienced in the future;
11   for any income and services that have already been lost as a result of the death, and that are
12
     reasonably probable to be lost in the future; for any reasonable expenses of funeral and burial;
13
     for the reasonable expenses of necessary medical care and services for the injury that resulted in
14
15   the death; and for related damages.

16          119.   The conduct that the City of Mesa and Defendant officers were engaged in with
17
     intent to cause injury, was wrongful conduct motivated by spite or ill will or the officers acted to
18
     serve their own interests, having reason to know and consciously disregarding a substantial risk
19
20   that their conduct might significantly injure the rights of or cause the death of Daniel. The

21   officers consciously pursued a course of conduct knowing that it created a substantial risk of
22
     significant harm to Daniel.
23
            120.   Plaintiffs are therefore entitled to damages in an amount to be determined at trial.
24
25          121.   The Plaintiffs are entitled to recovery of taxable costs, including per the terms of

26   A.R.S. § 12-341.


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 1                                    FIFTH CLAIM FOR RELIEF
 2
        (Violation of 42 U.S.C. § 1983: Against the City of Mesa Brailsford, Langley, Doane,
 3                     Elmore, Cochran and Gomez in their Official Capacity)
 4
            122.   Plaintiffs re-allege and incorporate by reference their claims, facts, and allegations
 5
     contained in the paragraphs above, as if set forth fully herein.
 6
 7          123.   As the surviving Parents of Daniel Shaver, the Plaintiffs have the authority to

 8   pursue claims under 42 U.S.C. § 1983 for violations by Defendants of Daniel Shaver’s clearly
 9
     established constitutional rights.
10
            124.   The City of Mesa and Langley directly and by and through their agents and
11
12   official policymakers, establish policy for the City’s police department, oversee operations of

13   the police department and the services provided by its officers, and evaluate, certify, and
14
     maintain the police department’s compliance with applicable standards. Such actions, directly
15
     or via ratification, constitute official municipal policy, customs and practices.
16
17          125.   The City of Mesa and Langley, acted jointly and under color of state law to

18   deprive Daniel Shaver and the Plaintiffs of their clearly established constitutional rights under
19   the Fourth, Eighth and Fourteenth Amendments to the United States Constitution.
20
            126.   Despite their knowledge of and notice to them, the City of Mesa and Langley were
21
22   deliberately and callously indifferent to the constitutional rights of those that they serve in

23   training (and/or failing to adequately train) police personnel, employees, and agents in (among
24   other things): the appropriate, lawful and constitutional policies, procedures, practices,
25
     protocols, and customs for the use of force; the processing, evaluation, handling, management,
26



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 1   and restraint of citizens; and other usual and recurring circumstance police face, as alleged
 2
     herein.
 3
               127.   The City of Mesa has long been on notice and had knowledge of the dangerous
 4
 5   and unconstitutional conditions that led to Daniel’s death.
 6             128.   Despite their knowledge of and notice, the City of Mesa and it’s Police officers
 7
     and supervisors were deliberately and callously indifferent to the constitutional rights of those
 8
     that they serve in the screening, hiring, retention and supervision of Police personnel,
 9
10   employees, and agents.
11             129.   Despite their knowledge and notice, the City of Mesa and their supervisors were
12
     deliberately and callously indifferent to the constitutional rights of those that they serve in
13
     fostering, encouraging, and knowingly accepting formal and informal Police policies or customs
14
15   condoning indifference to the use of excessive force, such as that death and/or bodily harm to

16   citizens was likely to occur in a manner similar to that of Daniel.
17
               130.   These Defendants’ deliberate, reckless, and callous actions, as described above,
18
     substantially contributed to and/or were the moving force behind Daniel’s treatment and the use
19
20   of excessive force upon him by City employees and his ultimate death in their hands while in

21   their custody and control.
22
               131.   The wrongful conduct of Defendants, as described herein, constitutes violations of
23
     42 U.S.C. § 1983, in that with deliberate and callous indifference, they deprived Daniel and his
24
25   Parents of rights secured to them by the Constitution and laws of the United States, including

26   (among others and without limitation) the right be free from law enforcement’s excessive force;


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 1   the right to be free from unreasonable search and seizure; the right to be free from deprivation of
 2
     life, liberty, or property without due process of law; the right to be free from cruel and unusual
 3
     punishment; and the right to the continued familial and societal relationship, guaranteed by the
 4
 5   Forth, Eighth and Fourteenth Amendments.
 6          132.   Plaintiffs are entitled to recover for their damages which are, at a minimum,
 7
     compensation for the loss of consortium, love, affection, companionship, care, protection and
 8
     guidance since the death and in the future; for the pain, grief, sorrow, anguish, stress, shock, and
 9
10   mental suffering already experienced, and reasonably probable to be experienced in the future;
11   for any income and services that have already been lost as a result of the death, and that are
12
     reasonably probable to be lost in the future; for any reasonable expenses of funeral and burial;
13
     for the reasonable expenses of necessary services for the injury that resulted in the death; and for
14
15   related damages.

16          133.   The wrongful conduct of these Defendants was in reckless disregard of the rights
17
     of Daniel and his Parents, and damages in an amount to be determined by a jury should be
18
     awarded.
19
20          134.   The Plaintiffs are entitled to recover reasonable attorneys’ fees and costs per 42

21   U.S.C. §§ 1983 and 1988, including expert fees.
22
                                      SIXTH CLAIM FOR RELIEF
23
     (Violation of 42 U.S.C. § 1983: Against Brailsford, Langley, Doane, Elmore, Cochran and
24
25                                Gomez in their Individual Capacities)

26



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 1          135.     Plaintiffs re-allege and incorporate by reference all claims, facts and allegation set
 2
     forth in the paragraphs above, as if set forth fully herein.
 3
            136.     As the surviving Parents of Daniel Shaver, the Plaintiffs have the authority to
 4
 5   pursue claims under 42 U.S.C. § 1983 for violations by Brailsford, Langley, Doane, Elmore,
 6   Cochran and Gomez of Daniel Shaver’s clearly established constitutional rights.
 7
            137.     Brailsford, Langley, Doane, Elmore, Cochran and Gomez, acted jointly and under
 8
     color of state law to deprive Daniel Shaver and the Plaintiffs of their clearly established
 9
10   constitutional rights under the Fourth, Eighth and Fourteenth Amendments to the United States
11   Constitution.
12
            138.     At all times material hereto, Brailsford, Langley, Doane, Elmore, Cochran and
13
     Gomez were acting under the color of law.
14
15          139.     Brailsford, Langley, Doane, Elmore, Cochran and Gomez used excessive force

16   upon Daniel which caused, contributed to cause, or was the moving force of his death.
17
            140.     The wrongful conduct of Brailsford, Langley, Doane, Elmore, Cochran and
18
     Gomez deprived Daniel and his Parents of rights secured to them by the constitution and the
19
20   laws of the United States, which conduct was not objectively reasonable under the

21   circumstances.
22
            141.     The wrongful conduct of Brailsford, Langley, Doane, Elmore, Cochran and
23
     Gomez, as described herein, constitutes violations of 42 U.S.C. § 1983, in that with deliberate
24
25   and callous indifference, they deprived Daniel and his Parents of rights secured to them by the

26   Constitution and laws of the United States, including (among others and without limitation) the


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 1   right be free from law enforcement’s excessive force; the right to be free from unreasonable
 2
     search and seizure; the right to be free from deprivation of life, liberty, or property without due
 3
     process of law; the right to be free from cruel and unusual punishment; and the right to the
 4
 5   continued familial and societal relationship, guaranteed by the Forth, Eighth and Fourteenth
 6   Amendments.
 7
            142.      Plaintiffs are entitled to recover for their damages which are, at a minimum,
 8
     compensation for the loss of consortium, love, affection, companionship, care, protection and
 9
10   guidance since the death and in the future; for the pain, grief, sorrow, anguish, stress, shock, and
11   mental suffering already experienced, and reasonably probable to be experienced in the future;
12
     for any income and services that have already been lost as a result of the death, and that are
13
     reasonably probable to be lost in the future; for any reasonable expenses of funeral and burial;
14
15   for the reasonable expenses of necessary services for the injury that resulted in the death; and for

16   related damages.
17
            143.      The actions of Brailsford, Langley, Doane, Elmore, Cochran and Gomez were
18
     malicious or in reckless disregard of the rights of Daniel and his Parents and punitive damages
19
20   in an amount to be determined by a jury should be awarded against each of them to punish them

21   for their wrongdoing and to deter and prevent them and others from acting in a similar manner
22
     in the future.
23
            144.      The Plaintiffs are entitled to recover reasonable attorneys’ fees and costs per 42
24
25   U.S.C. §§ 1983 and 1988, including expert fees.

26                                    SEVENTH CLAIM FOR RELIEF


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 1                         (Wrongful Death – Against La Quinta Inn & Suites)
 2
            145.   Plaintiffs re-allege and incorporate by reference their claims, facts, and allegations
 3
     contained in the paragraphs above, as if set forth fully herein.
 4
 5          146.   For purposes of this Claim, the Defendant “La Quinta” means Defendant La
 6   Quinta Holdings Inc. d/b/a La Quinta Inns & Suites, along with any and all employees, agents,
 7
     servants, contractors or representatives of the La Quinta hotel in Mesa, Arizona at which Daniel
 8
     Shaver was killed, who participated in, facilitated, encouraged or was responsible for any of the
 9
10   actions or failures to act alleged herein as a basis for liability, including all such persons or
11   entities whose specific identities and names are not yet known to Plaintiffs.
12
            147.   La Quinta owed a duty of care to Daniel Shaver because he was a paying guest of
13
     La Quinta on the night of January 18, 2016.
14
15          148.   La Quinta, along with the other Defendants breached their duty of care to Daniel

16   through their actions and failure to act as alleged above in facilitating, encouraging, and failing
17
     to prevent the use of excessive, unreasonable, and illegal force which resulted in Defendant
18
     Brailsford shooting and killing Daniel Shaver.
19
20          149.   Specifically, the acts and omissions include: inaccurate and incomplete reporting

21   to the 911 operator and the officers by La Quinta employees concerning the circumstances
22
     including but not limited to a weapon seen by La Quinta staff in the room, knowledge regarding
23
     the window and window screen, their knowledge about Daniel Shaver and whether they felt he
24
25   posed a threat, the circumstances surrounding Ms. Jimenez and her visit to Daniels room and

26



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 1   observations which occurred before and after the 911 call and failure to relay correct and
 2
     credible information to the City of Mesa officers.
 3
            150.   Additionally, La Quinta failed to adequately train and supervise its employees
 4
 5   regarding how to respond to situations like these and interact with police to ensure that full and
 6   accurate information is provided.
 7
            151.   If Daniel’s death had not ensued, He would have been entitled to maintain an
 8
     action to recover damages for Defendants’ conduct.
 9
10          152.   Pursuant to A.R.S. § 12-611, Defendants are liable to Daniels surviving Parents
11   for Defendants’ conduct, Daniel’s and his Parents’ claims, his death and his and their damages.
12
            153.   Pursuant to A.R.S. § 12-612(a), Daniels surviving Parents are entitled to bring this
13
     action for damages on behalf of the surviving statutory beneficiaries.
14
15          154.   As a direct result of the actions and failures to act of La Quinta as stated herein,

16   Daniel shaver was physically assaulted resulting in his death.
17
            155.   Plaintiffs have suffered the following damages and are entitled to, at a minimum,
18
     compensation for the loss of consortium, love, affection, companionship, care, protection and
19
20   guidance since the death and in the future; for the pain, grief, sorrow, anguish, stress, shock, and

21   mental suffering already experienced, and reasonably probable to be experienced in the future;
22
     for any income and services that have already been lost as a result of the death, and that are
23
     reasonably probable to be lost in the future; for any reasonable expenses of funeral and burial;
24
25   for the reasonable expenses of necessary services for the injury that resulted in the death; and for

26   related damages.


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 1          156.   The conduct that La Quinta was engaged in included negligence, intent to cause
 2
     injury, was wrongful conduct motivated by spite or ill will and acted to serve their own interests,
 3
     having reason to know and consciously disregarding a substantial risk that their conduct might
 4
 5   significantly injure the rights of or cause the death of Daniel. La Quinta consciously pursued a
 6   course of conduct knowing that it created a substantial risk of significant harm to Daniel.
 7
            157.   Moreover, deterrence and punishment are appropriate.
 8
            158.   Plaintiffs are therefore entitled to damages in an amount to be determined at trial
 9
10   including punitive damages in an amount sufficient to punish and deter future similar conduct.
11          159.   The Plaintiffs are entitled to recovery of taxable costs, including per the terms of
12
     A.R.S. § 12-341.
13
                                               JURY TRIAL
14
15          160.   Plaintiffs hereby request and demand a trial by jury.

16                                       PRAYER FOR RELIEF
17
       WHEREFORE, Plaintiffs pray for damages and for judgment against Defendants as follows:
18
        a) Awarding the Plaintiffs all their damages against all Defendants, including all actual,
19
20          compensatory, consequential and incidental damages, in an amount to be proven at trial;

21      b) Awarding the Plaintiffs punitive damages in an amount deemed just and reasonable
22
            against defendants Brailsford, Langley, Doane, Elmore, Cochran and Gomez in their
23
            individual capacities and also defendant La Quinta as to the causes of action, claims, and
24
25          theories of relief alleged herein in an amount sufficient to punish and deter similar

26          conduct;


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 1   c) Awarding Plaintiffs their reasonable costs and attorney’s fees against all Defendants as to
 2
        the causes of action, claims, and theories of relief alleged herein under the Constitution
 3
        and laws of the United Sates and Arizona, pursuant to 42 U.S.C. §§ 1983, 1985, 1988,
 4
 5      A.R.S. § 12-341, and A.R.S. § 39.121.02(B);
 6   d) Awarding Plaintiffs all remedies provided under State and Federal law; and
 7
     e) Awarding such other and further relief which the Court deems just and reasonable under
 8
        the circumstances.
 9
10
11     DATED this 19th day of May, 2017.
12
                                                    BUDGE LAW FIRM, PLLC
13
                                           By:       /s/ Sven K. Budge
14
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16                                                  Attorney for Plaintiffs
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